           Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 1 of 14




AIG Property Casualty    August 9, 2018
PO Box 10006
Shawnee Mission, KS
66225
www.aig.com              Via Email (cgriffin@knightoiltools.com) And Certified Mail-Return
                         Receipt Requested
Stephen Romano
SENIOR ANALYST           Cole Griffin, Esq.
COMPLEX CASUALTY         Knight Oil Tools, Inc.
T 212-458-5375
F 212-857-4855
                         2727 SE Evangeline Thruway
stephen.romano@aig.com   Lafayette, LA 70508-2205


                                Re:     Rippy Oil Company, Rippy Interest LLC, The Genecov
                                        Group, Inc. and John D. Proctor v. Knight Oil Tools, Inc.
                                        and Pioneer Drilling Company, Leon County District
                                        Court Case No.: 0-10-498
                                        Named Insured:       Knight Oil Tools, Inc.
                                        Policy No.:          BE 13074559 (3/31/2010-3/31/2011)
                                        Insurer:             Chartis Specialty Insurance
                                                             Company
                                        Our Claim No.:       1346620288us


                         Dear Mr. Griffin:

                         AIG Claims, Inc., a member company of AIG Property Casualty, Inc. (“AIG
                         Claims”), is the authorized representative and claims administrator for
                         Chartis Specialty Insurance Company (“Chartis”), which issued Commercial
                         Umbrella Liability Policy No. BE 13074559 to Knight Oil Tools, Inc. (“Knight”)
                         in effect from March 31, 2010 to March 31, 2011. Please be advised that I
                         am the adjuster handling this claim, and all future correspondence should be
                         directed to my attention. The purpose of this letter is to advise you of our
                         position with respect to coverage for the subject claim and to supplement our
                         pre-trial March 28, 2017 coverage position letter.

                         We value you as a customer and appreciate your business; however, we
                         must inform you that coverage may not be available under the policy
                         captioned above for the claims presented as more fully discussed below.
                         After you have reviewed the letter, if there is additional information you
                         would like me to consider please forward same. Also, if you have any
                         questions about this letter, please do not hesitate to contact me.

                         In considering your request for coverage, we have carefully reviewed the
                         insurance policy referenced above. No other policies were considered. If
                         you assert a right to coverage under another policy issued by any other
                         member company of AIG Claims please submit notice pursuant to the notice
                         provisions contained in that policy.

                                                 The Underlying Allegations

                         Based on the information we have received to date, the following sets forth a
                         summary of the allegations against Knight. On or about January 13, 2011,
                         Rippy Oil Company; Rippy Interest LLC; The Genecov Group, Inc.; and John



                                                                                       B
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 2 of 14




              D. Proctor (collectively “Rippy”) filed suit against Knight and Pioneer Drilling
              Company in the 12th Judicial District Court in Leon County, Texas. Rippy
              filed an amended complaint on October 26, 2016.

              According to its Petition, Rippy sought drilling services and drill pipe for use
              in its well known as the Easterling No. 1-H located in Leon County, Texas
              (“the Well”). The Well was allegedly the first of a multi-well program planned
              for the Aguila Vado Field, which comprised approximately 14,000 acres in
              Leon County. Knight supplied the drill pipe, which was utilized by Pioneer,
              and allegedly represented that the drill pipe satisfied API Specification 5D 3
              1/2”O.D. 13.30-PPF Grade S-135 drill pipe. Knight allegedly also marked
              the pipe as API premium and represented that the pipe had been inspected.
              According to Rippy, Knight and Pioneer knew the purpose for which Rippy
              sought the drilling pipe and the drilling services and knew that Rippy was
              relying on Knight and Pioneer to furnish drill pipe and drilling services
              suitable and fit for that purpose.

              According to Rippy, on May 11, 2010, Pioneer was using the drill pipe
              supplied by Knight during drilling operations when the drill pipe supplied by
              Knight catastrophically failed, destroying a valuable portion of the Well,
              which prevented its completion and subsequent production of oil reserves
              from the target intervals. Rippy attempted to mitigate its damages by
              attempting to fish the failed drilled pipe, separated drill pipe string, bottom-
              hole assembly, and drill bit damaged and lost in the hole after notifying
              Knight of the drill pipe failure. Despite Rippy’s salvage efforts, Rippy could
              not reproduce the Well with resulting loss of use of well bore and
              hydrocarbon reserves.

              Rippy claimed that Knight was negligent in the selection, inspection,
              labeling, marking, distribution, representation and use of the drill pipe. Rippy
              also made a products liability claim against Knight, claiming that the drill pipe
              was defective in that it failed to conform to its design, specifications and
              represented qualities and characteristics; was not properly API inspected or
              labeled; was not API Premium Class; had undersized O.D. and I.D. tool
              joints that exceeded the maximum I.D. for API Premium Class drill pipe; and
              was excessively worn, corroded, pitted, and cracked. Rippy also claimed
              causes of action for breach of express warranty; breach of implied warranty
              of merchantability and fitness for a particular purpose; violation of Texas
              Deceptive Trade Practices Act; gross negligence; breach of contract; fraud;
              aiding and abetting; civil conspiracy; concert of action; spoliation; and
              successor liability.

              As damages, Rippy sought cash market value damages for destruction of
              that portion of the Well, which is the market value of the Well less any
              salvage value, because reproducing that portion of the Well was impossible
              and the cost would exceed its value due to the irreparable damage
              occasioned to that portion of the Well. In the alternative, and should it be
              determined that the Well could be reproduced, Rippy sought recovery of the
              reasonable and necessary cost to reproduce the Well. Rippy also sought
              direct and/or consequential damages, including lost profits, loss of use, the
              loss of the lateral well bore and hydrocarbon reserves, the additional drilling
              costs incurred following the drill pipe separation, and the total loss of the drill
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 3 of 14




              bit, bottom-hole assembly, and other rental equipment lost down hole—all of
              which were allegedly caused by the drill pipe failure. In addition, Rippy
              sought punitive damages and attorneys’ fees.

                                                  Judgment

              On October 24, 2017, the United States District Court for the Western
              District of Louisiana lifted the automatic bankruptcy stay for the limited
              purpose of allowing the prosecution of Rippy Oil Co., et al. v. Knight Oil
              Tools, Inc., et al., Case No. 0-10-498, pending in the 369th JDC in Leon
              County, Texas. Pursuant to the court’s order, Rippy was only entitled to
              seek recovery on the claims asserted solely from Knight’s applicable
              insurance policies and that Knight’s liability was to be limited to the extent of
              any coverage provided by Knight’s insurance policies. Accordingly, Knight is
              only liable for any insured damages and is immune from liability for any
              uninsured damages.

              The Rippy Oil Co., et al. v. Knight Oil Tools, Inc., et al. suit proceeded to trial
              before a jury on May 1, 2018. On May 10, 2018, after the close of the
              evidence at trial, the jury found that Knight breached its implied warranty of
              fitness for a particular purpose and made a negligent misrepresentation with
              respect to the condition of the drill pipe. The jury found that neither Rippy
              nor Gyrodata contributed to the separation of the drill pipe.

              The jury found that the Well was not capable of being reproduced by drilling
              another well and that the reasonable and necessary costs for drilling and
              equipping the Well were $1.5 million. The jury also found that the fair market
              value of the Well before the pipe separation was $5.9 million and that the fair
              market value of the Well after the pipe separation was $0. The jury also
              found that Rippy failed to pay Knight $361,356.87 in invoices.

              Rippy filed a Motion for Judgment, and on June 4, 2018, the court entered a
              Final Judgment ordering Knight to pay Rippy $5,538,643.13, plus
              prejudgment interest in the amount of $2,056,885.14 through June 1, 2017
              and an additional $758.72 per day until the day before the final judgment is
              signed, with 5% interest, compounded annually, in post-judgment interest.

                                             The Chartis Policy

              Chartis Specialty Insurance Company issued Commercial Umbrella Liability
              Policy Number BE 13074559 to Knight Oil Tools, Inc. in effect from March
              31, 2010 to March 31, 2011 (“the Chartis Policy”). The Chartis Policy is
              subject to a $25 million per occurrence/general aggregate limit of liability in
              excess of the $1 million commercial general liability policy issued by ACE
              American Insurance Company. Attached to this letter as Exhibit 1 are
              the relevant policy provisions for convenient review. Kindly refer to the
              policy for its complete terms and conditions.

                                       Chartis’s Coverage Position

              Initially, we note that the Chartis Policy only applies, if at all, to those sums in
              excess of the Retained Limit that the insured becomes legally obligated to
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 4 of 14




              pay because of Property Damage 1 during the policy period and caused by
              an Occurrence. 2 It is our understanding that ACE has not paid the limits of
              its policy; accordingly, coverage is not currently implicated under the Chartis
              Policy.

              In addition, Chartis reserves its right to disclaim coverage if it is determined
              that Rippy’s damages do not constitute Property Damage caused by an
              Occurrence, as those terms are defined by the Chartis Policy. If there has
              been Property Damage as a result of an Occurrence, such Property Damage
              may be excluded from coverage by operation of the Impaired Property
              Exclusion.

              The Chartis Policy’s Impaired Property Exclusion precludes coverage for
              Property Damage to Impaired Property or property that has not been
              physically injured arising out of: (1) a defect, deficiency, inadequacy or
              dangerous condition in Your Work 3 or Your Product; 4 or (2) a delay or failure
              by you or anyone acting on your behalf to perform a contract or agreement
              in accordance with its terms. It also excludes coverage for damage to “Your
              Work” and to “Your Product”.

              The jury awarded Rippy $5,538,643.13 based on the fair market value of the
              Well. Based on the Verdict and Judgment, it appears that Rippy was
              awarded damages solely for the loss of use of the Well, i.e. for property that
              was not physically injured, and the Impaired Property Exclusion will operate
              to preclude coverage because Rippy’s damages arose out of a defect,
              deficiency, or inadequacy in Knight’s drill pipe. Further, the jury found that
              Knight’s negligent misrepresentation regarding the condition of the drill pipe
              and Knight’s breach of the implied warranty of fitness of the drill pipe for a
              particular purpose caused Rippy’s loss of use damages. Accordingly,
              Rippy’s damages arose out of Knight’s failure to perform a contract or
              agreement in accordance with its terms, i.e. supply drill pipe suitable for
              Rippy’s intended use. Rippy’s damages appear to therefore fall within the
              Impaired Property Exclusion because the damages are for “property that has
              not been physically injured” (i.e., the Well) arising out of a failure by Rippy to
              perform a contract or agreement in accordance with its terms (i.e., failure to
              provide drill pipe as specified or required for the job), if there was no
              evidence of physical damage presented at trial.




              1  Property Damage is defined as physical injury to tangible property, including all
              resulting loss of use of that property; or, loss of use of tangible property that is not
              physically injured.
              2
                 Occurrence is defined as an accident, including continuous or repeated exposure to
              substantially the same general harmful conditions.
              3
                Your Work is defined to include work or operations performed by You or on Your behalf;
              and materials, parts or equipment furnished in connection with such work or operations.
              Your Work also includes warranties or representations made at any time with respect to the
              fitness, quality, durability, performance or use of Your Work and the providing of or failure
              to provide warnings or instructions.
              4
                Your Product is defined as any good or products, other than real property, manufactured,
              sold, handled, distributed or disposed of by You, others trading under Your name, or a
              person or organization whose business or assets You have acquired.
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 5 of 14




              Chartis recognizes that the Impaired Property Exclusion is subject to an
              exception for the loss of use of other property arising out of sudden and
              accidental physical injury to Your Product after it has been put to its intended
              use. Here, however, the petition alleges that the pipe was excessively worn,
              corroded, pitted and cracked before it arrived at the Well site. If the trial
              testimony supports that the drill pipe was deteriorated before it arrived at the
              Well and that the failure of the drill pipe was caused by the pre-existing
              condition of the pipe, the sudden and accidental exception will not apply.

              To the extent that the damage award includes any amounts for damage to
              and/or the repair or replacement of Knight’s defective work or its defective
              product, Chartis denies coverage for these damages pursuant to the “Your
              Work” and “Your Product” exclusions.

              Chartis also reserves its right to disclaim coverage based on the potential
              applicability of the Testing or Consulting Errors and Omissions Exclusion.
              That exclusion precludes coverage for any Property Damage arising out of
              an error, omission, defect or deficiency in advice given by or on behalf of any
              insured; or the reporting of or reliance upon any such advice; or an error,
              omission, defect or deficiency in experimental data or the insured’s
              interpretation of such data. Here, the jury found that Rippy justifiably relied
              on Knight’s skill and judgment to furnish suitable drill pipe; that is, Rippy
              relied on the evaluation, consultation or advice given by Knight regarding the
              suitability of the drill pipe and Rippy’s reliance on Knight’s evaluation,
              consultation or advice resulted in Rippy’s damages. Chartis therefore
              reserves its right to disclaim coverage under the Testing or Consulting Errors
              and Omissions Exclusion.

              Chartis also reserves its right to disclaim coverage to the extent the
              Architects and Engineers Professional Liability Exclusion, the Professional
              Liability Exclusion, and/or the Testing or Consulting Errors and Omissions
              Exclusion apply.

                                               Conclusion

              Chartis’s coverage position is based on the information presently available to
              us. This letter is not, and should not be construed as, a waiver of any terms,
              conditions, exclusions or other provisions of the Chartis Policy, or any other
              policies of insurance issued by Chartis or any of its affiliates. Chartis
              expressly reserves all of its rights under the Chartis Policy, including the
              right to assert additional defenses to any claims for coverage, if subsequent
              information indicates that such action is warranted.

              Should you have any additional information that you feel would either cause
              us to review our position or would assist us in our investigation or
              determination, we ask that you advise us as soon as possible. If you wish to
              have your own personal counsel become involved in this matter, at your own
              expense, please feel free to do so, and we will cooperate fully with such
              counsel.

              If you have any other insurance policies, which may respond to this claim
              asserted, you should notify that carrier immediately.
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 6 of 14




              In closing, allow me to reiterate that we value you as a customer and
              encourage you to contact us should you have any questions or concerns
              regarding the contents of this letter. Thank you for your cooperation in this
              matter.

              Very truly yours,




              Stephen J. Romano
              Senior Analyst


              cc:    Via Email (AmyN@poirriergroup.com) And Via Certified Mail –
                     Return Receipt Requested
                     Amy V. Nunez, MBA, CISR
                     POIRRIER GROUP, LLC
                     300 Garfield Street
                     Lafayette, LA 70501
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 7 of 14




               I. INSURING AGREEMENT - COMMERCIAL UMBRELLA
               LIABILITY

               A. We will pay on behalf of the Insured those sums in excess of the
                  Retained Limit that the Insured becomes legally obligated to
                  pay as damages by reason of liability imposed by law because
                  of Bodily Injury, Property Damage or Personal Injury and
                  Advertising Injury to which this insurance applies or because of
                  Bodily Injury or Property Damage to which this insurance
                  applies assumed by the Insured under an Insured Contract.

                    The amount we will pay for damages is limited as described in
                    Section IV. Limits of Insurance.

               B. This policy applies, only if:

                    1.   the Bodily Injury or Property Damage is caused by an
                         Occurrence that takes place anywhere, and the Bodily
                         Injury or Property Damage occurs during the Policy Period;
                         and

              ***

               III. DEFENSE PROVISIONS

               A. We will have the right and duty to defend any Suit against the
                  Insured that seeks damages for Bodily Injury, Property Damage
                  or Personal Injury and Advertising Injury covered by this policy,
                  even if the Suit is groundless, false or fraudulent when:

                    1.   the total applicable limits of Scheduled Underlying Insurance
                         have been exhausted by payment of Loss to which this policy
                         applies and the total applicable limits of Other Insurance have
                         been exhausted; or

                    2.   the damages sought because of Bodily Injury, Property
                         Damage or Personal Injury and Advertising Injury would not
                         be covered by Scheduled Underlying Insurance or any
                         applicable Other Insurance, even if the total applicable
                         limits of either the Scheduled Underlying Insurance or any
                         applicable Other Insurance had not been exhausted by the
                         payment of Loss.

                    If we are prevented by law or statute from assuming the obligations
                    specified under this provision, we will pay any expenses incurred with
                    our consent.

               B. We will have no duty to defend the Insured against any Suit
                  seeking damages for Bodily Injury, Property Damage or
                  Personal Injury and Advertising Injury to which this insurance
                  does not apply.

              ***
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 8 of 14




               D. Except as provided in Paragraph A. above, we will have no duty to
                   defend any Suit against the Insured. We will, however, have the right,
                   but not the duty, to participate in the defense of any Suit and the
                   investigation of any claim to which this policy may apply. If we
                   exercise this right, we will do so at our own expense.

               E. We will not defend any Suit, or pay any attorney fees or litigation
                   expenses including, without limitation, the expenses described
                   in Paragraph C. above that accrue after the applicable Limits of
                   Insurance of this policy have been exhausted by the payment of
                   Loss and we will have the right to withdraw from the further
                   defense of such Suit by tendering control of said defense to the
                   Insured.

               IV. LIMITS OF INSURANCE

              ***

                      M. We will not make any payment under this policy unless and
                         until:

                     1.   the total applicable limits of Scheduled Underlying
                          Insurance have been exhausted by the payment of Loss to
                          which this policy applies and any applicable, Other
                          Insurance have been exhausted by the payment of Loss;
                          or

                     2.   the total applicable Self-Insured Retention has been satisfied
                          by the payment of Loss to which this policy applies.

                     When the amount of Loss has been determined by an agreed
                     settlement or a final judgment, we will promptly pay on behalf of
                     the Insured the amount of such Loss falling within the terms of
                     this policy. An agreed settlement means a settlement and
                     release of liability signed by us, the Insured and the claimant or
                     the claimant’s legal representative.

               V. EXCLUSIONS

               ***

               D. Damage to Impaired Property or Property Not Physically
               Injured

                     This insurance does not apply to Property Damage to Impaired
                     Property or property that has not been physically injured, arising out
                     of:

                     1. a defect, deficiency, inadequacy or dangerous condition in
                          Your Product or Your Work; or

                     2. a delay or failure by you or anyone acting on your behalf to
                          perform a contract or agreement in accordance with its terms.
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 9 of 14




                     This exclusion does not apply to the loss of use of other property
                     arising out of sudden and accidental physical injury to Your Product
                     or Your Work after it has been put to its intended use.

               ***

               F. Damage to Your Product

                     This insurance does not apply to Property Damage to Your

                     Product arising out of it or any part of it.

                     ***

               VI. CONDITIONS

                               ***

                     4. No Insured will, except at that Insured's own cost, voluntarily
                         make a payment, assume any obligation or incur any expense,
                         other than for first aid, without our consent.

                     ***

               L. Other Insurance

                     If other valid and collectible insurance applies to damages that are
                     also covered by this policy, this policy will apply excess of the Other
                     Insurance. However, this provision will not apply if the Other
                     Insurance is specifically written to be excess of this policy.

                     ***

               VII. DEFINITIONS

               ***

               L. Impaired Property means tangible property, other than Your Product or
                    Your Work, that cannot be used or is less useful because:

                     1. it incorporates Your Product or Your Work that is known or
                           thought to be defective, deficient, inadequate or dangerous; or
                     2. you have failed to

                           fulfill the terms of a

                           contract or

                           agreement; if such

                           property can be

                           restored to use by:
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 10 of 14




                     1. the repair, replacement, adjustment or removal of Your
                           Product or Your Work; or

                     2. your fulfilling the terms of the contract or agreement.

               ***


                P. Loss means those sums actually paid as judgments or
                  settlements, provided, however, that if expenses incurred to
                  defend a Suit or to investigate a claim reduce the applicable
                  limits of Scheduled Underlying Insurance, then Loss shall
                  include such expenses.

               ***

               S. Occurrence means:

                     1. as respects Bodily Injury or Property Damage, an accident,
                           including continuous or repeated exposure to substantially the
                           same general harmful conditions. All such exposure to
                           substantially the same general harmful conditions will be deemed
                           to arise out of one Occurrence.

                     2. as respects Personal Injury and Advertising Injury, an offense
                           arising out of your business that causes Personal Injury and
                           Advertising Injury. All damages that arise from the same,
                           related or repeated injurious material or act will be deemed to
                           arise out of one Occurrence, regardless of the frequency or
                           repetition thereof, the number and kind of media used and the
                           number of claimants.

                     ***

               Y. Property Damage means:

                     1. physical injury to tangible property, including all resulting loss of
                           use of that property. All such loss of use will be deemed to occur
                           at the time of the physical injury that caused it; or

                     2. loss of use of tangible property that is not physically injured. All
                           such loss of use will be deemed              to   occur   at   the
                           time of the Occurrence that caused it.

                     For the purposes of this insurance, electronic data is not tangible
                     property.

                     As used in this definition, electronic data means information,
                     facts or programs stored as or on, created or used on, or
                     transmitted to or from computer software, including systems and
                     applications software, hard or floppy disks, CD-ROMS, tapes,
                     drives, cells, data processing devices or any other media which
                     are used with electronically controlled equipment.

               Z. Retained Limit means:
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 11 of 14




                     1. the total applicable limits of Scheduled Underlying Insurance and
                        any applicable Other Insurance providing coverage to the Insured;
                        or

                     2. the Self-Insured Retention applicable to each Occurrence
                         that results in damages not covered by Scheduled
                         Underlying Insurance nor any applicable Other Insurance
                         providing coverage to the Insured.

               ***

               AA. Scheduled Underlying Insurance means:

                     1.   the policy or policies of insurance and limits of insurance shown
                          in the Schedule of Underlying Insurance forming a part of this
                          policy; and

                     2.   automatically any renewal or replacement of any policy in
                          Paragraph 1. above, provided that such renewal or replacement
                          provides equivalent coverage to and affords limits of insurance
                          equal to or greater than the policy being renewed or replaced.

                     Scheduled Underlying Insurance does not include a policy of
                     insurance specifically purchased to be excess of this policy affording
                     coverage that this policy also affords.

               ***

               DD. Your Product means:

                     1. any goods or products, other than real property, manufactured,
                     sold, handled, distributed or disposed of by:

                          a.   you;

                          b.   others trading under your name; or

                          c. a person or organization whose business or assets you
                          have acquired; and

                     2. containers (other than vehicles), materials, parts or
                         equipment furnished in connection with such goods or
                         products.

                     Your Product includes:

                     1.   warranties or representations made at any time with respect to
                          the fitness, quality, durability, performance or use of Your
                          Product; and

                     2.   the providing of or failure to provide warnings or instructions.

                     Your Product does not include vending machines or other
                     property rented to or located for the use of others but not sold.

               EE. Your Work means:
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 12 of 14




                         1    work or operations performed by you or on your behalf; and

                         2. materials, parts or equipment furnished in connection with
                         such work or operations.

                         Your Work includes:

                         1. warranties or representations made at any time with respect to
                            the fitness, quality, durability, performance or use of Your Work;
                            and


                         2. the providing of or failure to provide warnings or instructions.

              ***

                                   SCHEDULE OF UNDERLYING INSURANCE


              GENERAL LIABILITY                         ACE American Insurance Co.
                     $1,000,000
              (Knight Oil tools, Inc.)                         03/31/10
                     EACH OCCURRENCE
                                                               03/31/11
                         $10,000,000

                         GENERAL AGGREGATE

                                                                       ***


                             Architects and Engineers Professional Liability Exclusion

              This policy is amended as follows:
              Section V. EXCLUSIONS is amended to

                    include the following additional exclusion:

                    Architects and Engineers

                    This insurance does not apply to any liability arising out of any act,
                    error or omission, malpractice or mistake committed or alleged to
                    have been committed by or on behalf of the Insured in the
                    performance of architectural or engineering services, including but
                    not limited to:

                    1. the preparation or approval of maps, plans, opinions, reports,
                    surveys, designs or specifications; and

                    2.   supervisory, inspection or engineering services.
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 13 of 14




                    It is understood this exclusion applies even if the claims against any
                    Insured allege negligence or other wrongdoing in the supervision,
                    hiring, employment, training or monitoring of others by that Insured.

                    ***

                                    Professional Liability Exclusion Endorsement

              This policy is amended as follows:
              Section V. EXCLUSIONS is amended to

                    include the following additional exclusion:

                    Professional Liability

                    This insurance does not apply to any liability arising out of any
                    act, error, omission, malpractice or mistake of a professional
                    nature committed by the Insured or any person for whom the
                    Insured is legally responsible.

                    It is understood this exclusion applies even if the claims against any
                    Insured allege negligence or other wrongdoing in the supervision,
                    hiring, employment, training or monitoring of others by that Insured.

              ***

                    Testing or Consulting Errors and Omissions Exclusion Endorsement

              This policy is amended as follows:
              Section V. EXCLUSIONS is amended to

                    include the following additional exclusion:

                    Testing or consulting

                    This insurance does not apply to Bodily Injury, Property Damage, or
                    Personal Injury and Advertising Injury arising out of:

                    1.An error, omission, defect or deficiency in:

                          a.   any test performed; or
                          b.   an

                          evaluation, a

                          consultation

                          or advice

                          given, by or
Case 4:22-cv-00276 Document 4-2 Filed on 02/01/22 in TXSD Page 14 of 14




                       on behalf of

                       any Insured;

                 2. The reporting of or reliance upon any such test, evaluation,
                 consultation or advice; or

                 3. An error, omission, defect or deficiency in experimental
                     data or the Insured's interpretation of such data.

                 ***
